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                     IN THE UNITED STATES DISTRICT COURT
                                                                     RECEIVED
                      FOR THE SOUTHERN DISTRICT OF IOWA                    MAY 21 2009
                                                                     CLERK, U.S. DISTRICT COURT
                                                                     SOUTHERN DISTRICTOFfOWA
UNITED STATES OF AMERICA,
                                           NO. 1:09-cr-00008-RP-CFB
               Plaintiff,

     vs.

MIGUEL ALVARADO-SANCHEZ,

               Defendant.


REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                (NO PLEA AGREEMENT)


               The United States of America and the defendant, having

both filed a written consent to conduct of the plea proceedings by

a magistrate judge, appeared before me pursuant to Fed. R.                 Crim.

P.   11 and LCrR 11.         The defendant entered a plea of guilty to

Count      1   of   the   Indictment   charging   him   with   conspiracy       to

distribute 50 grams of methamphetamine and 500 grams or more of a

mixture        or   substance    containing   a    detectable      amount       of

methamphetamine, in violation of 21 U.S.C.         §§   846 and 841(b) (1) (A).

After advising and questioning the defendant under oath concerning

each of the subjects addressed in Rule II(b) (1), I determined that

the guilty plea was in its entirety voluntarily,                knowingly and

intelligently made and did not result             from force,     threats,      or

promises.       I further determined that there is a factual basis for

the guilty plea on each of the essential elements of the offense in

question.       There is no plea agreement.
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           I recommend that the plea of guilty be accepted and that

the   defendant   be   adjudged   guilty    and   have   sentence     imposed

accordingly.      A    presentence    report   has   been   ordered   and   a

sentencing status conference scheduled.




                                     UNIT                       JUDGE




                                  NOTICE

            Failure by a party to file written objections to this
Report and Recommendation within ten (10) days from the date of its
service will result in waiver by that party of the right to make
objections      to  the  Report   and  Recommendation.    28   U.S.C.
§ 636 (b) (1) (B). The Report and Recommendation was served this date
by delivery of a copy thereof to counsel for the government and
defendant in open court.




                                       2
